      Case 3:00-cr-00048-LC-MD   Document 1429     Filed 02/13/06   Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                         CASE NO.: 3:00cr48/LAC
                                            3:05cv117/LAC/MD
JEFFREY A. MATZ
_____________________________________________________________________
                                     ORDER
       Upon consideration of the Report and Recommendation of the Magistrate
Judge filed on November 28, 2005, pursuant to 28 U.S.C. § 636(b)(1)(B), and after
reviewing objections to the Recommendation, the Recommendation is adopted as
the opinion of the Court.
       Accordingly, it is ORDERED:
       The motion to vacate, set aside or correct sentence (doc. 1237) is DENIED.


       DONE AND ORDERED this 13th day of February, 2005.




                                      s /L.A. Collier
                                      LACEY A. COLLIER
                                      SENIOR UNITED STATES DISTRICT JUDGE
